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 7   Attorneys for Respondent
 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                           SAN FRANCISCO DIVISION
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13   ERNEST EDWARD DYKES,                                       CAPITAL CASE
14                                             Petitioner, 11-CV-04454-SI
15                   v.                                         DECLARATION OF ERIC D. SHARE IN
                                                                SUPPORT OF RESPONDENT’S
16                                                              OPPOSITION TO PETITIONER’S
     RON DAVIS, Warden of San Quentin State                     SECOND REQUEST FOR EXTENSION
17   Prison,                                                    OF TIME TO FILE JOINT STATEMENT
18                                           Respondent.
19

20         1. I, the undersigned, am counsel for respondent in the above-captioned federal capital

21   habeas case. I make this declaration in support of respondent’s opposition to petitioner’s second

22   request for extension of time to file a joint statement.

23         2. On July 30, 2018, I sent an e-mail to counsel for petitioner, Philip A. Trevino, noting

24   that the date for the joint statement was quickly approaching and asking if he was working on a

25   draft of a status report to send to respondent for our comments.

26         3. On August 1, 2018, petitioner’s counsel responded that he was awaiting some significant

27   input from outside sources regarding settlement prospects and expected to have it soon. He said it

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     Declaration of Eric D. Share in Support of Respondent’s Opposition to Petitioner’s Second Request for Extension of
                                                                        Time to File Joint Statement (11-CV-04454-SI)
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 1   would help inform how he asked this Court to proceed, and that he would update me as soon as
 2   possible, and certainly in advance of our filing deadline.
 3         4. Having heard nothing more, respondent contacted petitioner’s counsel again by e-mail
 4   on August 6, 2018, to inquire as to the status of the joint statement.
 5         5. On August 8, 2018, the day before the joint statement was due, petitioner’s counsel
 6   responded by e-mail that he intended to ask this Court for another extension of time to file the
 7   joint statement to pursue an unspecified attempt at resolution of this matter. He again indicated
 8   that he was still seeking information from outside sources to support the proportionality claim in
 9   the petition, and the scope of the requests is fairly large. He did not, however, send respondent a
10   draft of what he intended to file with the court.
11         6. On August 8, 2018, respondent informed petitioner’s counsel that it would object to any
12   further requests for an extension of time to file the joint statement.
13         I declare under penalty of perjury that the foregoing is true and correct. Executed at San
14   Francisco, California, on August 13, 2018.
15
                                                                    /s/ Eric D. Share
16                                                                  _______________________________
                                                                    ERIC D. SHARE
17                                                                  Supervising Deputy Attorney General
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     Declaration of Eric D. Share in Support of Respondent’s Opposition to Petitioner’s Second Request for Extension of
                                                                        Time to File Joint Statement (11-CV-04454-SI)
